Case 18-01044-JDP                 Doc 47          Filed 09/06/18 Entered 09/06/18 15:27:00                  Desc Main
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          INC..                                                    c h .l r

                                Debtor.


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              CLERK OF'l'l{D COUR'1-r
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          COMES NOW R. FredCoopcr.and hcrcbygivcsnoticcof'thc entryof his appearance
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 attorneyof recordfor andon behalfof Handsof Hopellome HealthandHospice,a pany in interest.

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         orders,documents,                                                         be

 scrveduponsaidattorneyat the follorvingaddress:

                     R. Iired Cooper
                     770 S. Woodruff
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                                 )      clayof September,



                                                            R. Irred Cooper
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                                                            Attorney fbrHands of Hope F{omeHealth znd l{ospice


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Case 18-01044-JDP                  Doc 47    Filed 09/06/18 Entered 09/06/18 15:27:00            Desc Main
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                                            CERTII.-ICATEOF SERVICE

       I do herebycertifythaton thi, fut*aay of September,2018,
                                                              I electronically
                                                                            filedthe
 fbregoingwiththeClerkof theBankruptcy CourtusingtheCM/ECFsystem whichsenta Noticeof
 Eleclronic
          Irilingto thefollowingpersons:

            lJ S Trustee@ ustp.regionl
                                    8.bs.ecf@usdoj.gov

        And, I hcrebycerlily that I serveda true and correctcopy of the Ibregoingdocumentupon
 thefollowingperson(s)by mailingwith thenecessary     postageafllxed thereto.

           SafeLlavenllcalth Care.inc.                            ItichardM. Madsen
           8050WestNorthview                                      DaviclIL Leigh
           B o i s e I. D 8 3 7 0 4                               RAY QIIINNEY & NEBEKER P.C.
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